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UNITED STATES DISTRICH GOURI
SOUTHERN DISTRICT OF NEW. YO

   

 

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

; oC. 1 $2018.

 

 

 

Plaintiff,
VS. : No. 1:18-cv-8947
TESLA, INC.

Defendant.

 

CONSENT MOTION FOR ENTRY OF FINAL JUDGMENT

Plaintiff United States Securities and Exchange Commission (the “Commission’”)
respectfully submits this consent motion to enter final judgment according to the parties’
settlement, In support of this motion, the Commission states the following:

1, On September 29, 2018, the Commission filed a Complaint against Defendant
Tesla, Inc. (“Tesla”) alleging violations of the federal securities laws.

2, The parties have reached a settlement agreement in this case. Attached hereto as
Exhibit 1 is the executed Consent of Defendant Tesla, setting forth the terms of its settlement
with the Commission.

3. Attached hereto as Exhibit 2 is the proposed Final Judgment to which Defendant
Tesla agreed. The proposed Final Judgment would permanently enjoin Tesla from violating
Rule 13a-15 of the Securities Exchange Act of 1934. It would also order Tesla to pay a penalty

of $20,000,000 and to comply with the undertakings detailed in the Final Judgment.
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The Commission respectfully requests that the Court enter the proposed Final Judgment

attached hereto as Exhibit 2.

Dated: September 29, 2018 Respectfully submitted,

/s/ Jina L. Choi

Jina L. Choi

Chery] L. Crumpton*
E. Barrett Atwood*

*Motion to appear pro hac vice forthcoming

U.S. Securities and Exchange Commission
100 F Street, N.E.

Washington, D.C, 20549

(202) 551-4459 (Crumpton)

44 Montgomery Street, Suite 2800
San Francisco, CA 94104
(415) 705-2467 (Atwood)
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

 

 

Plaintiff,
VS. ; No.
TESLA, INC.,
Defendant.
CONSENT OF DEFENDANT TESLA, INC.
1. Defendant Tesla, Inc. (“Defendant” or “Company”) waives service of a summons

and the complaint in this action, enters a general appearance, and admits the Court’s jurisdiction
over Defendant in this action only and over the subject matter of this action.

2. Without admitting or denying the allegations of the complaint (except as provided
herein in paragraph 14 and except as to personal jurisdiction as to this matter only and subject
matter jurisdiction, which Defendant admits), Defendant hereby consents to the entry of the final
Judgment in the form attached hereto (the “Final Judgment”) and incorporated by reference
herein, which, among other things:

{a) permanently restrains and enjoins Defendant from violation of Rule 13a-
15 of the Securities Exchange Act of 1934 (the “Exchange Act”) /17
CFR. § 240. 18a-15];

{b) orders Defendant to pay a civil penalty in the amount of $20,000,000
under Section 21(d)(3) of the Exchange Act /75 U.S.C. § 78u(d) (3)/; and

(c) requires Defendant to comply with the undertakings set forth in this
Consent and incorporated in the Final Judgment.

3. Defendant acknowledges that the civil penalty paid pursuant to the Final
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Judgment may be distributed pursuant to the Fair Fund provisions of Section 308(a) of the
Sarbanes-Oxley Act of 2002, as amended. Regardless of whether any such Fair Fund
distribution is made, the civil penalty shall be treated as a penalty paid to the government for all
purposes, including all tax purposes. To preserve the deterrent effect of the civil penalty,
Defendant agrees that it shall not, after offset or reduction of any award of compensatory
damages in any Related Investor Action based on Defendant’s payment of disgorgement in this
action, argue that it is entitled to, nor shall it further benefit by, offset or reduction of such
compensatory damages award by the amount of any part of Defendant’s payment of a civil
penalty im this action (“Penalty Offset”). Ifthe court in any Related Investor Action grants such
a Penalty Offset, Defendant agrees that it shall, within 30 days after entry of a final order
granting the Penalty Offset, notify the Commission’s counsel in this action and pay the amount
of the Penalty Offset to the United States Treasury or to a Fair Fund, as the Commission directs.
Such a payment shall not be deemed an additional civil penalty and shall not be deemed to
change the amount of the civil penalty imposed in this action. For purposes of this paragraph, a
“Related Investor Action” means a private damages action brought against Defendant by or on
behalf of one or more investors based on substantially the same facts as alleged in the Complaint
in this action.

4, Defendant agrees that it shall not seek or accept, directly or indirectly,
reimbursement or indemnification from any source, including but not limited to payment made
pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays
pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof
are added to a distribution fund or otherwise used for the benefit of investors. Defendant further
agrees that it shall not claim, assert, or apply for a tax deduction or tax credit with regard to any
federal, state, or local tax for any penalty amounts that Defendant pays pursuant to the Final
Judgment, regardless of whether such penalty amounts or any part thereof are added to a
distribution fund or otherwise used for the benefit of investors.

3. Within forty-five (45) days of the filing of this Consent, Defendant undertakes to
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appoint an independent Chairman of the Company’s Board of Directors (“Chairman”) to replace

Elon Musk, and agree not to reappoint Elon Musk to Chairman for a minimum of three years and

unless such reappointment is approved by a majority vote of shareholders at such time, Upon

request by the Company, the Commission staff may grant in its sole discretion an extension to

the deadline set forth above.

6. Within ninety (90) days of the filing of this Consent, Defendant undertakes to:

(a)

(b)

(c)

add two independent directors to the Company’s Board of Directors (one
of which may be the independent Chairman if that person is appointed
from outside the Company, its affiliates, and the affiliates of Elon Musk).
Upon request by the Company, the Commission staff may grant in its sole
discretion an extension to the deadline set forth above;

create a permanent committee (“Committee”) of the Company’s Board of
Directors, consisting of independent directors only, overseeing the (i)
implementation of the terms of this Consent and incorporated Final
Judgment; (11) controls and processes governing the Company’s and its
senior executives’ disclosures and/or public statements that relate to the
Company; and (iii) review and resolution of human resources issues or
issues raising conflicts of interest that involve any member of executive
management. The charter and composition of the Committee is subject to
review and approval by the staff of the Commission;

employ or designate an experienced securities lawyer (“Securities
Counsel’) whose qualifications are not unacceptable to the staff and
maintain such counsel (or a successor Securities Counsel) for so long as
the Company remains a reporting company under the Securities Exchange
Act of 1934. The Securities Counsel will review communications made
through Twitter and other social media by the Company’s senior officers

in a manner that is consistent with the Company’s disclosure policy and
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(d)

procedures, including the procedures and controls referenced in subsection
(d) below, as well as advise the Company on securities issues, including,
but not limited to, compliance with all federal securities laws and
regulations;

implement mandatory procedures and controls to oversee all of Elon
Musk’s communications regarding the Company made in any format,
including, but not limited to, posts on social media (¢.g., Twitter), the
Company’s website (e.g., the Company’s blog), press releases, and
investor calls, and to pre-approve any such written communications that
contain, or reasonably could contain, information material to the Company
or its shareholders. The definition of, and the process to determine, which
of Elon Musk’s communications contain, or reasonably could contain,
information material to the Company or its shareholders shall be set forth
in the Company’s disclosure policies and procedures; and

certify, in writing, compliance with the undertakings set forth above in
paragraphs 5 and 6. The certification shall identify the undertakings,
provide written evidence of compliance in the form of a narrative, and be
supported by exhibits sufficient to demonstrate compliance. The
Commission staff may make reasonable requests for further evidence of
compliance, and Defendant agrees to provide such evidence within a
reasonable amount of time. Defendant shall submit the certification and
supporting material to Steven Buchholz, Assistant Regional Director, U.S.
Securities and Exchange Commission, 44 Montgomery Street, 28th Floor,
San Francisco, CA 94104, with a copy to the Office of Chief Counsel of
the Enforcement Division, 100 F Street NE, Washington, DC 20549, no
later than fourteen (14) days from the date of the completion of the

undertakings.
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7. Defendant waives the entry of findings of fact and conclusions of law pursuant to
Rule 52 of the Federal Rules of Civil Procedure.

8. Defendant waives the right, if any, to a jury trial and to appeal from the entry of
the Final Judgment.

9, Defendant enters into this Consent voluntarily and represents that no threats,
offers, promises, or inducements of any kind have been made by the Commission or any
member, officer, employee, agent, or representative of the Commission to induce Defendant to
enter into this Consent.

10. Defendant agrees that this Consent shall be incorporated into the Final Judgment
with the same force and effect as if fully set forth therein.

11. Defendant will not oppose the enforcement of the Final Judgment on the ground,
if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure, and
hereby waives any objection based thereon.

12. Defendant waives service of the Final Judgment and agrees that entry of the Final
Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant
of its terms and conditions. Defendant further agrees to provide counsel for the Commission,
within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit
or declaration stating that Defendant has received and read a copy of the Final Judgment.

13, Consistent with 17 C.F.R. § 202.5(0, this Consent resolves only the claims
asserted against Defendant in this civil proceeding. Defendant acknowledges that no promise or
representation has been made by the Commission or any member, officer, employee, agent, or
representative of the Commission with regard to any criminal lability that may have arisen or
may arise from the facts underlying this action or immunity from any such criminal liability.
Defendant waives any claim of Double Jeopardy based upon the settlement of this proceeding,
including the imposition of any remedy or civil penalty herein. Defendant further acknowledges
that the Court's entry of a permanent injunction may have collateral consequences under federal

or state law and the rules and regulations of self-regulatory organizations, licensing boards, and
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other regulatory organizations. Such collateral consequences include, but are not limited to, a
statutory disqualification with respect to membership or participation in, or association with a
member of, a self-regulatory organization. This statutory disqualification has consequences that
are separate from any sanction imposed in an administrative proceeding. In addition, in any
disciplinary proceeding before the Commission based on the entry of the injunction in this
action, Defendant understands that it shall not be permitted to contest the factual allegations of
the complaint in this action.

14. Defendant understands and agrees to comply with the terms of 17 C.-F.R. §
202.5(e), which provides in part that it is the Commission’s policy “not to permit a defendant or
respondent to consent to a judgment or order that imposes a sanction while denying the
allegations in the complaint or order for proceedings,” and “a refusal to admit the allegations is
equivalent to a denial, unless the defendant or respondent states that it neither admits nor denies
the allegations.” As part of Defendant’s agreement to comply with the terms of Section 202.5(¢),
Defendant: (i) will not take any action or make or permit to be made any public statement
denying, directly or indirectly, any allegation in the complaint or creating the impression that the
complaint is without factual basis; (ii) will not make or permit to be made any public statement
to the effect that Defendant does not admit the allegations of the complaint, or that this Consent
contains no admission of the allegations, without also stating that Defendant does not deny the
allegations; and (iii) upon the filing of this Consent, Defendant hereby withdraws any papers
filed in this action to the extent that they deny any allegation in the complaint. If Defendant
breaches this agreement, the Commission may petition the Court to vacate the Final Judgment
and restore this action to its active docket. Nothing in this paragraph affects Defendant’s: (i)
testimonial obligations; or (ii) right to take legal or factual positions in litigation or other legal
proceedings in which the Commission is not a party.

15. Defendant hereby waives any rights under the Equal Access to Justice Act, the
Small Business Regulatory Enforcement Fairness Act of 1996, or any other provision of law to

seek from the United States, or any agency, or any official of the United States acting in his or
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her official capacity, directly or indirectly, retmbursement of attorney’s fees or other fees,
expenses, or costs expended by Defendant to defend against this action. For these purposes,
Defendant agrees that Defendant is not the prevailing party in this action since the parties have
reached a good faith settlement.

16. Defendant agrees that the Commission may present the Final Judgment to the
Court for signature and entry without further notice.

17. Defendant agrees that this Court shall retain jurisdiction over this matter for the

purpose of enforcing the terms of the Final Judgment.

QS fo
Dated: Ee pte mM bes 2 , 2018 Tesla, Inc, ——— .
By: Sig BE

Todd A. Maron
General Counsel
Tesla, Inc.

3500 Deer Creek Road
Palo Alto, CA 94304

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On Seite bar 14 , 2018, ‘Tod (\ Muon , a person known to me,
personally appeared before me and acknowledged executing the foregoing Consent with full
authority to do so on behalf of \e4 A We. as irghaneva) (DA reel

no

Notary Public - California \ \ f*® av
Alameda County Z Not ry Public.
r éxpires: } 0

 
  

 
 
  

  
 

“5 Commission # 2469444 dobhniseion ou /z020
>” ty Comm. Expires Oct 24, 2020

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Approved as to form:

Bradley Bonet
Cahill Gordon & Reindel LLP

1990 K Street, N.W.
Suite 950
Washington, D.C. 20006

E

Attorney for Defendant

 
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CALIFORNIA JURAT

 

| A notary public or other officer completing this
certificate verifies only the identity of the individual who
signed the document to which this certificate is
attached, and not the truthfulness, accuracy, or validity
of that document.

 

 

 

STATE OF CALIFORNIA }
) ss.
COUNTY OF SAN MATEQ )

Subscribed and sworn to (or affirmed) before me on this 29th day of September 2018, by Todd
Maron, proved to me on the basis of satisfactory evidence to be the person(s) who appeared

before me.

WITNESS my hand and official seal.

“)

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/\\

F Jon rin) (Seal)

Moin ~

State of California

    

STEPHANIE ROBIN CASTRO VARGO f?
n2 Notary Public - California =
Alameda Gounty
5 Commission # 2169444 :

~ ___ ty Comm. Expires Oct 24. 2020 &

 
    
 

  

  
  

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

Plaintiff,
VS. : No. 1:18-cv-8947
TESLA, INC.,

Defendant.

 

FINAL JUDGMENT AS TO DEFENDANT TESLA, INC.

The Securities and Exchange Commission having filed a Complaint and Defendant Tesla,
Inc. (“Defendant” or “Company”) having entered a general appearance; consented to the Court’s
jurisdiction over Defendant in this matter only and the subject matter of this action; consented to
entry of this Final Judgment without admitting or denying the allegations of the Complaint
(except as to jurisdiction); waived findings of fact and conclusions of law; and waived any right
to appeal from this Final Judgment:

1,

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
permanently restrained and enjoined from violating, directly or indirectly, Rule 13a-15 of the
Securities Exchange Act of 1934 (the “Exchange Act”) [17 C.F.R. § 240. 13a-15].

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's
officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).
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IL.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall pay a
civil penalty in the amount of $20,000,000 to the Securities and Exchange Commission pursuant
to Section 21(d)(3) of the Exchange Act //5 U.S.C. § 78u(d)(3)]. Defendant shall make this
payment within 14 days after entry of this Final Judgment.

Defendant may transmit payment electronically to the Commission, which will provide
detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly
from a bank account via Pay.gov through the SEC website at
http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank
cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

Enterprise Services Center
Accounts Receivable Branch
6500 South MacArthur Boulevard
Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of
this Court; Tesla, Inc. as a defendant in this action; and specifying that payment is made pursuant
to this Final Judgment.

Defendant shall simultaneously transmit photocopies of evidence of payment and case
identifying information to the Commission’s counsel in this action. By making this payment,
Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part
of the funds shall be returned to Defendant.

Defendant shall pay post judgment interest on any delinquent amounts pursuant to 28
U.S.C. § 1961. The Commission shall hold the funds, together with any interest and income
earned thereon (collectively, the “Fund”), pending further order of the Court.

The Commission may propose a plan to distribute the Fund subject to the Court’s
approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund

provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002, as amended. The Court shall

 
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retain jurisdiction over the administration of any distribution of the Fund. If the Commission
staff determines that the Fund will not be distributed, the Commission shall send the funds paid
pursuant to this Final Judgment to the United States Treasury.

Regardless of whether any such Fair Fund distribution is made, amounts ordered to be
paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to the
government for all purposes, including all tax purposes. To preserve the deterrent effect of the
civil penalty, Defendant shall not, after offset or reduction of any award of compensatory
damages in any Related Investor Action based on Defendant’s payment of disgorgement in this
action, argue that it is entitled to, nor shall it further benefit by, offset or reduction of such
compensatory damages award by the amount of any part of Defendant’s payment of a civil
penalty in this action (“Penalty Offset’). If the court in any Related Investor Action grants such
a Penalty Offset, Defendant shall, within 30 days after entry of a final order granting the Penalty
Offset, notify the Commission’s counsel in this action and pay the amount of the Penalty Offset
to the United States Treasury or to a Fair Fund, as the Commission directs. Such a payment shall
not be deemed an additional civil penalty and shall not be deemed to change the amount of the
civil penalty imposed in this Judgment. For purposes of this paragraph, a ‘“Related Investor
Action” means a private damages action brought against Defendant by or on behalf of one or
more investors based on substantially the same facts as alleged in the Complaint in this action.

UI.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is
incorporated herein with the same force and effect as if fully set forth herein, and that Defendant
shall comply with the following undertaking set forth therein within forty-five (45) days of the
filing of the Consent to appoint an independent Chairman of the Company’s Board of Directors
(“Chairman”) to replace Elon Musk, and agree not to reappoint Elon Musk to Chairman for a
minimum of three years and unless such reappointment is approved by a majority vote of
shareholders at such time. Upon request by the Company, the Commission staff may grant in its

sole discretion an extension to the deadline set forth above.
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IV.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with the following undertakings set forth therein within ninety (90) days of the

filing of the Consent to:

(a)

(b)

(c)

add two independent directors to the Company’s Board of Directors (one
of which may be the independent Chairman if that person is appointed
from outside the Company, its affiliates, and the affiliates of Elon Musk).
Upon request by the Company, the Commission staff may grant in its sole
discretion an extension to the deadline set forth above;

create a permanent committee (“Committee”) of the Company’s Board of
Directors, consisting of independent directors only, overseeing the (i)
implementation of the terms of this Consent and incorporated Final
Judgment; (ii) controls and processes governing the Company’s and its
senior executives’ disclosures and/or public statements that relate to the
Company; and (iii) review and resolution of human resources issues or
issues raising conflicts of interest that involve any member of executive
management. The charter and composition of the Committee is subject to
review and approval by the staff of the Commission;

employ or designate an experienced securities lawyer (“Securities
Counsel”) whose qualifications are not unacceptable to the staff and
maintain such counsel (or a successor Securities Counsel) for so long as
the Company remains a reporting company under the Securities Exchange
Act of 1934. The Securities Counsel will review communications made
through Twitter and other social media by the Company’s senior officers
in a manner that is consistent with the Company’s disclosure policy and

procedures, including the procedures and controls referenced in subsection

 
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(d)

(e)

(d) below, as well as advise the Company on securities issues, including,
but not limited to, compliance with all federal securities laws and
regulations;

implement mandatory procedures and controls to oversee all of Elon
Musk’s communications regarding the Company made in any format,
including, but not limited to, posts on social media (¢.g., Twitter), the
Company’s website (e.g., the Company’s blog), press releases, and
investor calls, and to pre-approve any such written communications that
contain, or reasonably could contain, information material to the Company
or its shareholders. The definition of, and the process to determine, which
of Elon Musk’s communications contain, or reasonably could contain,
information material to the Company or its shareholders shall be set forth
in the Company’s disclosure policies and procedures; and

certify, in writing, compliance with the undertakings set forth above in
paragraphs III and IV. The certification shall identify the undertakings,
provide written evidence of compliance in the form of a narrative, and be
supported by exhibits sufficient to demonstrate compliance. The
Commission staff may make reasonable requests for further evidence of
compliance, and Defendant agrees to provide such evidence within a
reasonable amount of time. Defendant shall submit the certification and
supporting material to Steven Buchholz, Assistant Regional Director, USS.
Securities and Exchange Commission, 44 Montgomery Street, 28th Floor,
San Francisco, CA 94104, with a copy to the Office of Chief Counsel of
the Enforcement Division, 100 F Street NE, Washington, DC 20549, no
later than fourteen (14) days from the date of the completion of the

undertakings.

 
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V.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

 
  

Dated: WN
ISTRICT JUDGE

 

 

 

 
